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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                     )
                                             )
   v.                                        )        USDC No. 22-mj--239-02 (MAU)) ,
                                             )
Jacob Michael Therres, defendant.            )

                                NOTICE OF APPEARANCE
                                    (DEFENDANT)



         THE COURT WILL PLEASE NOTE the appearance of Nathan I. Silver, Esq., appointed

by this Court under the Criminal Justice Act nunc pro tunc to the 15th day of November, 2022,

as attorney of record in the above-referenced case.

         This notice is,

                                             Respectfully submitted,

                                                 Nathan I. Silver

                                             NATHAN I. SILVER, ESQ.
                                             D.C. Bar No. 944314
                                             6300 Orchid Drive, Bethesda, MD 20817
                                             (301) 229-0189/(301) 229-3625 (fax)
                                             Email: nisquire@aol.com

                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of this Notice has been served upon Andrew Tessmani,
Esq., United States Dept. of Justice, USAO-Detailee, and Norman A. Pattis, attorney for
codefendant Douglas Wyatt, via ECF this 15th day of November, 2022.

                                             __Nathan I. Silver_____
                                             Nathan I. Silver
